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                       UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS

____________________________________
SECURITIES AND EXCHANGE              )
COMMISSION,                          )
            Plaintiff,               )
                                     )
            v.                       )
                                     )
ROGER KNOX, WINTERCAP SA             )
MICHAEL T. GASTAUER,                 )
WB21 US INC., SILVERTON, SA INC., )              Civil Action No. 18-cv-12058 (RGS)
WB21 NA INC., C CAPITAL              )
CORPORATION, WINTERCAP               )
SA INC., AND B2 CAP INC.             )
                       Defendants,   )
                                     )
RAIMUND GASTAUER, SIMONE             )
GASTAUER FOEHR, B21 LTD.,            )
SHAMAL INTERNATIONAL FZE,            )
AND WB21 DMCC,                       )
            Relief Defendants.       )
____________________________________)

 DEFENDANTS WB21 US INC., SILVERTON, SA, INC., WB21 NA INC., C CAPITAL
   CORPORATION, WINTERCAP SA INC., AND B2 CAP INC’S MOTION FOR
       DISMISSAL FOR FAILURE TO STATE A CLAIM PURSUANT TO
                        FED. R. CIV. P. 12(b)(6

       The Defendants above move the Court to dismiss their case because the Amended

Complaint fails to adequately state a claim against them. As grounds , the Defendants state:

       1. The Amended Complaint fails to set forth “factual allegations, either direct or

           inferential, respecting each material element necessary to sustain recovery under

           some actionable legal theory,” dismissal under Federal Rule of Civil Procedure

           12(b)(6) is appropriate. CentroMedico del Turabo, Inc. v. Feliciano de Melecio, 406

           F.3d 1, 6 (1st Cir. 2005).
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           The Amended Complaint’s “threadbare recitals” of the elements of a cause of action,

           supported by mere conclusory statements cannot suffice. Ashcroft v. Iqbal, 556 U.S.

           662, 678 (2009). The Amended Complaint as a whole hinges on allegations of fraud

           against these Defendants, and therefore must be dismissed for failure to plead with

           particularity pursuant to Fed. R. Civ. P. 9(b). In re Sonus Networks, Inc. Sec. Litig.,

           2006 WL 1308165, at *6 (D. Mass. May 10, 2006) (“9(b) applies to all averments of

           fraud … . . . and is not limited to allegations styled or denominated as fraud . . .

           .”)(internal quotations and citation omitted).

       As further grounds, the Defendants refer this Court to their Memorandum of Law, filed

concurrently.

                                              Respectfully submitted,
                                              WB21 US Inc.
                                              Silverton SA, Inc.
                                              WB21 NA, Inc.
                                              C Capital Corporation
                                              Wintercap SA Inc.
                                              B2 Cap Inc.
                                              By their attorneys,


                                              /s/ Timothy Cornell
                                              Timothy Cornell (BBO #654412)
                                              Patrick Dolan (BBO# 564250)
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DATE: April 22, 2019
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                                   Local Rule 7.1 Certification

I certify that I have conferred with counsel for the Plaintiff, who has informed me that the

Plaintiff would oppose this Motion.

                                              _/s/ Timothy Cornell




                                         ECF Notification

I certify that this Motion and the accompanying Memorandum will be filed through the Court’s

ECF system and that the parties to this action will receive notice electronically.

                                              __/s/ Timothy Cornell
